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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 GLOBAL GAMING PHILIPPINES, LLC,                              :
                                              Plaintiff,      :    21 Civ. 2655 (LGS)
                                                              :
                            -against-                         :          ORDER
                                                              :
 ENRIQUE K. RAZON, JR.,                                       :
                                              Defendant. :
 -------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Case Management Plan and Scheduling Order, issued May 13, 2021,

scheduled a conference following the close of discovery to discuss any contemplated dispositive

motions the parties wish to file. That Order directs the parties to file a pre-motion letter at least

two weeks prior to the conference in the form given in Individual Rule III.A.1. An Order issued

October 7, 2022, adjourned this conference to January 4, 2023, at 4:10 p.m. It is hereby

        ORDERED that the Case Management Plan and Scheduling Order is amended as

follows: By December 12, 2022, any party intending to file any motions (other than in limine

motions) shall file a single pre-motion letter describing all such motions, including any motions

for summary judgment and any motions regarding expert testimony. Any such letter shall

comport with the Court’s Individual Rules and shall not exceed two pages of discussion per

motion. The opposing party shall file a responsive letter of no greater than equal length by

December 19, 2022. To the extent that the parties have already filed motions to exclude expert

discovery, see, e.g., Dkt. 299, Dkt. 302, they shall include a discussion of these motions in their

respective letters.

        The parties’ letters shall propose a briefing schedule for the anticipated motions and shall

include, as necessary, a proposal and explanation regarding whether the proposed motions should

be briefed simultaneously and, if not, the sequencing of any such briefing. On cross-motions for
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summary judgment, the court typically takes two memoranda of law per side. As the Court

typically receives motions pertaining to expert testimony as in limine motions prior to trial, the

parties shall explain any reason why such motions should be considered earlier.

Dated: December 2, 2022
       New York, New York




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